                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                      )      COLLIER/CARTER
                                              )
       v.                                     )      CASE NO. 1:09-CR-181
                                              )
DONNA SHROPSHIRE                              )


                                            ORDER

       On June 6, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

included offense in Count One of the Indictment, conspiracy to distribute and manufacture

methamphetamine in violation of 21 USC §§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for the

undertakings made by the government in the written plea agreement; (b) the Court adjudicate

Defendant guilty of the charges set forth in the lesser included offense in Count One of the

Indictment; (c) that a decision on whether to accept the plea agreement be deferred until sentencing;

and (d) Defendant shall remain in custody pending sentencing in this matter (Court File No. 1129).

Neither party filed an objection within the given fourteen days. After reviewing the record, the

Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation pursuant to 28 U.S.C.

§ 636(b)(1) and ORDERS as follows:

       (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Indictment,

in exchange for the undertakings made by the government in the written plea agreement, is

ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

offense in Count One of the Indictment;



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      (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

      (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

September 22, 2011, at 9:00 am.

      SO ORDERED.

      ENTER:


                                          /s/
                                          CURTIS L. COLLIER
                                          CHIEF UNITED STATES DISTRICT JUDGE




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